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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                                           CASE NUMBER:


USA
                                                               8:11−cr−00132−JVS
                                         PLAINTIFF(S),

         v.
JULIO CESAR VARGAS , et al.
                                       DEFENDANT(S).            NOTICE OF ASSIGNMENT TO A UNITED
                                                                      STATES DISTRICT JUDGE
                                                                   re: HABEAS CORPUS PETITION
                                                                     OR 28 U.S.C. §2255 MOTION


      A Petition for Writ of Habeas Corpus pursuant to 28 U.S.C. §2241 was filed and assigned case number
          . Please refer to this case number in all future communications.

 X A Motion pursuant to 28 U.S.C. §2255 was filed in criminal case number         8:11−cr−132 JVS−17
also assigned civil case number  8:18−cv−01771 JVS         . Please refer to these case numbers in all future
communications.

      Pursuant to General Order 16−05, the within action has been assigned to the calendar of the Honorable
          Judge James V. Selna           , United States District Judge.

     Pleadings, motions for extension of time and all other matters to be called to the District Judge’s attention
shall be formally submitted through the Clerk of the Court.

     The Court must be notified within fifteen (15) days of any address change. If mail directed by the clerk to
your address of record is returned undelivered by the Post Office, and if the Court and opposing counsel are not
notified in writing within fifteen (15) days thereafter of your current address, the Court may dismiss the petition
with or without prejudice for want of prosecution.

    Subsequent documents, correspondence and all other matters to be called to the District Judge’s attention
should be submitted and/or filed at the following location:

Southern Division
411 West Fourth St., Ste 1−053
Santa Ana, CA 92701−4516


                                                         Clerk, U.S. District Court

 September 28, 2018                                      By /s/ Edwin Sambrano
Date                                                       Deputy Clerk




CV−17 (05/18)                NOTICE OF ASSIGNMENT TO A UNITED STATES DISTRICT JUDGE
                                     re: Habeas Corpus Petition or 28 U.S.C. §2255 Motion
